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                    IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF KANSAS




BRUCE LEICHTY,

                  Plaintiff,
                                                            No. 6: 19—CV-01064-JWB—KGG
V.


BETHEL COLLEGE,                                             Final Pretrial Conference: 4/ 15/2021
                                          VVVVVVVVVVVVVVV

                                                            Time: 2 p.m.
                                                            Magistrate Judge Kenneth G. Gale

                                                            COMPLAINT FILED: 3/15/2019
                                                            DISCOVERY CUTOF F: 3/26/2021

                  Defendant.




               REPLY OF PLAINTIFF TO OPPOSITION TO MOTION
        FOR MODIFICATION OF SCHEDULING ORDER AND RELATED RELIEF
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       Plaintiff Bruce Leichty (hereinafter “Plaintiff ’ or “Leichty”), Pro Se, replies as follows to

the Memorandum in Opposition to Plaintiff’ s Motion ﬁled by Defendant Bethel College

(“Defendant” or “College”) (Docket No. 136) submitted in response to Plaintiff’s motion for

modiﬁcation of the scheduling order and for related relief (Docket No. 129). This Reply is

supported by the Supplemental Declaration of Bruce Leichty (“Supp Dec.”) and the Request to

Strike ﬁled concurrently herewith.I

        1.   Defendant wants the Court to believe that Plaintiff is seeking a request for modiﬁcation

of the Scheduling Order in this case only because of Plaintiff’s own dereliction and delay;

however, it is clear in the Motion that Plaintiff is in the position of needing more discovery—very

speciﬁcally delimited--only because of Defendant’s own absence of timely responses and because

of late-revealed apparent spoliation of evidence after conﬂictingresponses, whether characterized

as innocent or willful, and other factors beyond Plaintiff’s control.    Plaintiff has been diligent at

all times after Defendant’s initial responses were received   1   1/7/20 in seeking compliant responses.

       2.    Plaintiff acknowledges and has already acknowledged that at the time of the Scheduling

Order he underestimated the number of depositions that he would need to take, where an

institutional defendant was involved and so many different employees or representatives of the

College involved. However, Plaintiff is also mindful of the fact that this Court stated during the

scheduling conference that a limit on the number of depositions was largely up to the parties. Had

Plaintiff received the documents he should have received on 11/7/20 (including draft cabinet




        1Plaintiff believes that even though this motion is being heard by Magistrate Judge Gale,
he may be bound by the provisions of the Standing Order of Judge Broomes, which would limit
this Reply Memo to ﬁve (5) pages. Paragraph 1 of the Standing Order explicitly applies to all
cases assigned to Judge Broomes, even if Para. 2 applicable here is not as explicit, but Plaintiff
believes he cannot take the chance. If the limits do not apply, or even if they do, Plaintiff
respectfully seeks oral argument per Local Rule 7.2 since he is hard pressed to respond to all of
Defendant’s assertions — in a multi—faceted Motion -— in one-third the space allowed to College.

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minutes that are now said to be destroyed, and e-mails that revealed new witnesses or the role of

certain other disclosed witnesses), he would have been able to either avoid some depositions

entirely, or at least by early December 20202--instead of early March 202l--identify the need for

more than four additional depositions, a modiﬁcation already informally approved by this Court.

       3.   Plaintiff also respectfully reiterates that where he has asked for leave to take more

depositions in his Motion, these are all projected to be short depositions; and after the Court’s

order of March 23, 2021 (Docket No. 135) Defendant also has the ability (notwithstanding

Plaintiffs own wishes and interests) to require that they all be conducted remotely. The burden

on Defendant of such depositions——particularly when Plaintiff believes based on his due process

rights that he would have the option of instead subpoenaing the individuals to trial——is minimal.

       4. Defendant even wants to fault    Plaintiff for not having done more after the death of an

important witness which he was informed of only on March 2, a week before this motion was

ﬁled. Plaintiff was not sitting on his hands after the 3/2 notice of the death of City of Newton

police ofﬁcer Levi Minkevitch, but he knew he had to make a trip to and from Kansas to take the

depositions that remained on calendar (Mar. 10-16), and he also believed he needed to query the

unusual disclaimer made in the wake of this death: that City of Newton had no records pertaining

to Plaintiff. As alluded to in his initial declaration and as ﬁirther detailed in the accompanying

Supp.Dec., he did just that. Defendant apparently believes that Plaintiff was relegated to


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          Defendant’s allegations that Plaintiff unduly delayed in sending an initial “golden rule
letter” fails to account for the fact that Plaintifftook seven depositions beginning the day after
documents were due 11/7/20, did not return (and could not have returned) to his ofﬁce in
California until mid-November, and that a major holiday season then followed during which it
was reasonable to expect that the multiple demands in Plaintiff’s own law practice would have to
be met along with needs in this case (Plaintiff also conducted a deposition in this casel2/l4).
Even so, the initial duty to comply fell on Defendant, not on Plaintiff to mitigate. Plaintiff acted
timely to identify defects in the responses, obtain extensions, and review responses, and his
inability to forecast that a number of disclosures made in mid—February to early March would
seriously handicap him should not now lead to a conclusion that HE was the party derelict.

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subpoenaing a supposedly nonexistent ﬁle as a consequence of this death. Defendant’s

expectations of an out—of—state “in pro per” Plaintiff in these various regards are unreasonable.

        5. By now, there is even more reason for    modiﬁcation of the Scheduling Order, since

the discovery deadline established in the Scheduling Order (3/26) has come and gone without

College having provided responses that it agreed to provide by 3/26, namely to interrogatories

relating to calls and texts during the academic conference that is the subject of the action. This

was agreed to at the informal discovery conference held with this Court on 3/2/21 Supp. DeC..

        6.   Plaintiff believes that his initial presentation to the Court was clear on how it

happened that late compliance by Defendant left him in the position of having to take more

depositions, but responds speciﬁcally to some of Defendant’s contentions as follows:

        —Defendant is mischaracterizing Plaintiff’s argument regarding the “cabinet meeting.”

Plaintiff knew from e-mails that there was apparently discussion of him at such a meeting on the

eve of the conference, 3/15/18, although President Gering denied having heard of Plaintiff before

the conference. After Dr. Milliman conﬁrmed 12/ 14/20 that discussion had taken place at a

meeting attended by Gering, it took another two months until the College disclosed that the

cabinet minutes provided to Plaintiff (as proof of absence of any decision) were not the original

minutes created, i.e. that there were draft minutes available to participants.   Gering is now known

as the person who called police to arrest Plaintiff, and the role of the cabinet is relevant. His lack

of memory or prevarication creates the need to question all those who attended that meeting.

        —One   of the attendees was an ex-vice-president Eric Schrag, who is shown exactly a week
later (cabinet meetings are held on the same day every week) engaged in written communication

about Plaintiff with an employee in his department. Neither the correspondence or parties were

timely disclosed to Plaintiff, and it is irrelevant in the context of the legitimate scope of inquiry of

Plaintiff that the communication occurred after the conclusion of the Holocaust conference.
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       —Plaintiff has never contended   that the name of Renae Stucky was not disclosed early in

discovery. However, her e-mail regarding the Holocaust Conference, and speciﬁcallyher

concern for security of registration materials (implying some supervisorial role) was not disclosed

until the 11th hour even though it was duly requested, so that Plaintiff could consider deposing her.

       —It   was not until a production was ﬁnally made of duly-requested board member

correspondence, again within days before this motion was ﬁled, that Plaintiff ﬁnally knew with a

certainty that College was contending that this member had not communicated to anyone else

about Plaintiff” s post—conference messages to him. That production was owed in November and

not made until late February. Because it would have been unusual for a board member to not

have further processed receipt of Plaintiff’s request, it was not till February that Plaintiff had to

conclude that Flickinger’s communications with other College employees (probably Gering) were

likely by phone. Time of the messages is inconsequential given a legitimate scope of inquiry into

the motivation for breach and ouster and what a witness was/may have been told about the arrest.

       —As    to the death of Ofﬁcer Minkevitch, Defendant is twisting out of context Plaintiffs

citation of the case Sithon Mar Co. v. Holiday Manston, No. CIV A 96-2262-KHV, 1999 WL

66216, at *2 (D. Kan. 2/8/1999). Plaintiff merely mentioned that case as an example of a case

construing Local Rule 30.3 which discusses “presumptive good cause” for altering a deadline on

depositions on certain grounds admittedly not present here. Plaintiff was not urging a wooden

application of either the Rule or the holding of a case, but merely sought to highlight the policy

underlying both the case and the rule when a witness who would have otherwise been deposed

suddenly is not available. No Rule covers exactly the situation now confronted by Plaintiff, and

so the fact that Ofﬁcer Minkevitch had not “voluntarily” agreed to appear for trial becomes

irrelevant: he was duly subpoenaed, but just weeks away from the discovery deadline Plaintiff

was notiﬁed that he had died and moreover was given no ready recourse to related data.
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        7. The exhibits attached to Defendant’s Memorandum should be disregarded,           per the

accompanying Request to Strike. These evidentiary documents are objectionable hearsay and not

properly submitted into evidence, and there are portions of the Jantzen and police narratives and

other e-mails that are ﬂatly inaccurate and will be disputed, and indeed some already were the

subject of cross—examination, and clearly these are inserted for the purpose of prejudicing the

Court against Plaintiffs modiﬁcation request; and they would cause prejudice unless stricken.

          8. In sum, after all of Defendant’s arguments are duly considered,      Plaintiff is has shown

that leaving the Scheduling Order and discovery deadline in place and preventing Plaintiff from

taking additional targeted depositions would work an injustice to him despite his diligence, and

would reward either dereliction or tardiness by Defendant, and therefore there is good cause to

modify the Order.      Pfeiffer   V.   Eagle Mfg. Co., 137 F.R.D. 352, 355 (D. Kan. 1991); McCormick

v. Medicalodges, Inc., No. CIV A 05—2429-KHV, 2007 WL 471127 at *2 (D. Kan. 2/8/2007).                  As

the Court knows based on several discovery conferences, based on the issuance of an Order

Compelling Production regarding student records, and based on Plaintiff’s prior declaration,

Plaintiff has acted responsibly and in good faith throughout, certainly with nothing akin to

“cavalier disregard,” and there is a reasonable basis for everything he is requesting. Putnam v.

M_orri_s, 833   F.2d 903, 095 (10th Cir. 1987). He does not rely on lack of prejudice to Defendant

even though he submits there is none: it is instead Defendant that caused prejudice to Plaintiff.

        9. Defendant is    itself stipulating to modiﬁcation, including to depositions of the two

witnesses previously scheduled, as well as to a clause that Defendant believes serves its interests

(time for supplementing Disclosures).          The further modiﬁcation sought by Plaintiff is modest.

        WHEREFORE, Plaintiff requests that he be granted the relief requested in his Motion, for

good cause, and subject only to such restrictions (if any) as will not impair his ability complete the

legitimate discovery that he could have already completed but for Defendant’s untimely action.
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                                            Respectfully submitted by,

                                            /s/ Bruce Leichty

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                                    CERTIFICATE OF SERVICE

I hereby certify that on this 29th day of March 2021 the foregoing was ﬁled with the Clerk of the
Court of the Kansas District Court using the CM/ECF system which will send notice of electronic
ﬁling to all counsel of record, including the following:

                                            /s/ Bruce Leichty
                                            Bruce Leichty, Plaintiff



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